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 6
                                     UNITED STATES DISTRICT COURT
 7
                                         DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,         )
10                                     )
               Plaintiff,              )
11                                     )
   vs.                                 )                 2:10-cr-547-RLH-GWF
12                                     )
   JACOB MCLAUGHLIN,                   )
13                                     )
               Defendant.              )                         ORDER
14 ____________________________________)
15
            Gary L. Myers, Esq. has gone on “inactive” status with the State Bar of Nevada. Therefore;
16
            IT IS HEREBY ORDERED that Gabriel L. Grasso, Esq. is appointed as counsel for Jacob
17
     McLaughlin in place of Gary L. Myers, Esq. for all future proceedings.
18
            IT IS FURTHER ORDERED that Mr. Myers shall forward the file to Mr. Grasso forthwith.
19
20          DATED this         9th     day of December, 2011.
21          NUNC PRO TUNC DATE: December 9, 2011.
22
                                                         _____________________________________
23                                                       ROGER L. HUNT
                                                         United States District Judge
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